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                                       November 10, 2023
Via ECF
The Honorable Jacqueline Scott Corley
United States District Court
Northern District of California
450 Golden Gate Ave.
San Francisco, CA 94102

       RE:     Demartini, et al v. Microsoft Corporation
               Case No: 3:22-cv-08991-JSC

Dear Judge Corley,

      Plaintiffs move to compel complete responses to Plaintiffs’ Requests for Production
(“RFPs”) and Interrogatories (“Rogs”).

                                   PLAINTIFFS’ POSITION:

        Microsoft has amassed its enormous market share in gaming largely through a history of
acquisitions of gaming studios and publishers. Microsoft acquired one of the “big 5” Triple-A
gaming publishers as recently as 2020 when it purchased ZeniMax and Bethesda. Microsoft
claimed during regulatory review of that merger that it had no incentive to make Bethesda’s
games exclusive. Yet Microsoft has now proven its statements to regulators were meaningless
and false. Microsoft has recently released and announced new Triple-A Bethesda titles exclusive
to Microsoft, such as Redfall (May 2023), Starfield (September 2023) and Elder Scrolls VI
(upcoming). Now, Microsoft has subsumed yet another independent Triple-A publisher, this time
the world’s most successful and important Triple-A gaming publisher, Activision Blizzard.

        In discovery, Microsoft has refused to produce anything other than what was already
produced to the FTC, except for the data that Microsoft already maintains on each of the
Plaintiffs through its Xbox and gaming data collection. 1 But Microsoft’s production to the FTC
does not fulfill Plaintiffs’ more targeted discovery requests, and Microsoft’s production to the
FTC is now critically stale. For example, Microsoft’s production of its executives’ relevant
communications to the FTC stops in February 2023. This is well before Microsoft entered into
new agreements over Activision’s important gaming content. Indeed, now that the merger is
consummated and divestiture may be required, discovery into communications up to the present
are now even more essential. But Microsoft has wholly refused to produce any of the relevant
executives’ communications after February 2023. Plaintiffs seek to compel Microsoft to produce
the RFPs and Rogs that are not covered by Microsoft’s production to the FTC.

1.     The Court Should Compel Production of Documents Responsive to Plaintiffs’
       Requests for Production:



1
 Defendant withheld its collected data on the Plaintiffs until producing it after hours on Friday,
October 20, just one business day before the first Plaintiff deposition (Tuesday October 24).
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              RFP 15: Communications of six Microsoft executives related to the Merger.
              RFP 16: Communications of six Microsoft executives about exclusivity decisions
              RFP 17: The online posts of six Microsoft executives in the past two years related
               to video games.
              RFP 28: Agreements between Microsoft and its cloud-gaming competitors.
              RFP 20: Documents and Communications related to the Plaintiffs.

      All of these RFPs are relevant to whether this merger might substantially lessen
competition in one of the relevant markets alleged by Plaintiffs.

        RFP 15 seeks communications discussing the merger of six executives. RFP 16 seeks
those same six executives’ communications about exclusivity of gaming content. And RFP 17
seeks the online posts related to video games in the past two years by the same six executives.
There is little dispute that Microsoft’s executives’ communications about the merger, exclusivity,
or public posts about video games are highly relevant. Each of the six Microsoft executives were
all heavily involved in the decision to purchase Activision and in Microsoft’s gaming business.
For example, Plaintiffs need to know whether Microsoft executives took contrary positions when
discussing the merger with respect to enforceability, price, and effects on the industry. The same
is true with respect to communications about exclusivity. Microsoft has refused to produce any
communications of its executives other than what it already produced to the FTC, which only
goes through February 2023. And Microsoft has refused to produce their online posts about
video games. Microsoft’s assertions about what it has already produced are misleading and
inaccurate. The Court should order production of the material; Microsoft does not need to
reproduce anything it has already produced.

        Plaintiffs’ request is not limited to communications made solely on official work devices
or official media channels. If the merger was discussed on private devices, those messages are
discoverable because they are highly relevant. Similarly, if public posts about video games were
disseminated through private channels, such posts are discoverable and relevant. Case law
supports discovery of these executives’ private emails, texts, and messages in addition to their
official work devices discussing the merger. 2

       Microsoft asserts that they have provided the six executives’ usernames for “any accounts
they could have used to post about the merger or Microsoft’s video game business.” But that is
simply not true. Microsoft does not deny that these executives have personal social media
accounts that have never been produced. And Microsoft concedes that they have never reviewed


2
  See Ultravision Techs., LLC v. Govision, LLC, No. 218CV00100JRGRSP, 2020 WL 10692709,
at *2 (E.D. Tex. Aug. 28, 2020) (ordering production of emails from private email account where
CEO conducted business from multiple private email accounts). See also Paisley Park
Enterprises, Inc. v. Boxill, 330 F.R.D. 226, 235 (D. Minn. 2019) (“The Court will not permit the
RMA Defendants to claim that it was reasonable to assume data on their personal cell phones
would not be subject to discovery when the record clearly shows that they used their phones for
work purposes.”).
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those accounts to determine if they have posted about the merger or video games on those
accounts.

       The six executives’ communications about the merger and exclusivity are highly relevant
to numerous issues in this case. Indeed, now that the merger is consummated, Microsoft is no
doubt having discussions and making decisions about Activision’s content and on what platforms
Activision’s content will be available. Yet Microsoft refuses to produce anything after February
2023. Indeed, Microsoft has recently released huge titles from Bethesda that are exclusive to
Microsoft, such as Redfall (May 2023), Starfield (September 2023), and Elder Scrolls IV
(upcoming).

        RFP 22 seeks Microsoft’s agreements with its cloud-gaming competitors. Although
Microsoft has chosen to produce and rely on certain agreements with cloud-gaming providers
over Call of Duty and other Activision content that it asserts precludes any competitive harm,
those agreements can only be assessed by reviewing Microsoft’s relationship with its cloud-
gaming competitors, including other agreements. For example, if Microsoft is able to leverage its
monopoly power over its Windows operating system or its cloud services (Azure) in order to
control its cloud-gaming competitors, that information would be highly relevant and would
undercut Microsoft’s assertions. Microsoft has informed Plaintiffs that Microsoft has numerous
agreements with its cloud-gaming competitors that have never been disclosed, but Microsoft
refuses to produce the agreements.

       RFP 20: Plaintiffs ask the Court to compel Microsoft to produce all data and
communications about the Plaintiffs. One business day before Mr. DeMartini’s deposition,
Microsoft produced to Plaintiffs its gaming data on each of the Plaintiffs that Microsoft tracks.
The details of the data was substantial, including all game-playing history and all in-game
communications, among other data. However, the data that Microsoft produced appears to be
incomplete, as it does not appear to include all the data that Microsoft collects on Plaintiffs’
gaming activities, including from when Plaintiffs were minors. Moreover, Microsoft has refused
to produce any of Microsoft’s (non-privileged) communications about the Plaintiffs.

        With respect to data, Microsoft asserts, without any declaration in support, that it has
produced all data it possess on Plaintiffs. But making such an argument without verification is
inadequate, particularly where the production appears on its face to be insufficient. For example,
in the data that Microsoft produced detailing all of Plaintiffs’ game playing history, there are
numerous entries that appear to have no date, or the date information was masked. The Court
should order Microsoft to collect and produce the full and complete data they possess on the
Plaintiffs. Microsoft does not need to re-produce anything they’ve already produced.

2.     The Court Should Compel Responses to Plaintiffs’ Interrogatory Number 4:

       Rog 4 seeks “all social media handles” of the six key Microsoft executives: Satya
Nadella, Brad Smith, Phil Spencer, Amy Hood, Matt Booty, and Tim Stuart. This request
includes all social media handles, not simply their official Twitter and FaceBook Threads
accounts. Defendant refuses to produce the social media handles of key Microsoft executive
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based on relevancy, proportionality, and disclosure of private information. But if the social
medial handle was used to post about video games or the Merger, they are relevant, and there is
no burden in producing the handle.

3.     The Court Should Compel Microsoft’s Response to Request for Admission 6 & 7.

       Request for Admission number 6 asks Microsoft to “[a]dmit that [Microsoft] and
Activision Blizzard compete in the development, publishing, and sale of video games.”
Microsoft has objected and refuses to respond. Request for Admission number 7 is essentially
the same but seeks an admission that Microsoft and Activision compete in the sale of “Triple-A
(‘AAA’) video games.” Microsoft refuses to respond to this too.

                                  MICROSOFT’S POSITION

        Microsoft has produced millions of pages of documents and responded to other written
discovery requests (including compiling extensive data on game titles). That the bulk of the
documents were also produced to the FTC speaks to the breadth of the FTC production, not to
any lack of discovery available to Plaintiffs. Another scorched-earth production of every post-
February 2023 document related to the merger and business decisions about video games is
unwarranted and infeasible on this case schedule. Indeed, Plaintiffs have not treated that
information as important to the issues in this case: their depositions of Microsoft executives have
focused on rehashing issues covered in the FTC action rather than more recent events and they
waited until nearly the close of discovery to pursue these discovery requests. But contrary to
Plaintiffs’ assertion that Microsoft refused to produce any post-February 2023 communications,
Microsoft has agreed to additional, tailored productions of documents related to the more recent
agreements that impact the Microsoft-Activision deal. Those productions are complete or
underway.

RFP 15: Communications Related to the Merger

        The merger agreement was executed in January 2022. Microsoft made a broad
production of communications related to the merger through February 2023. That production
would have fully addressed the issues that Plaintiffs argue are relevant: the decision to make the
purchase, analysis about whether (and why) to agree to the acquisition, and discussions about the
effect of the acquisition. Consistent with what Plaintiffs demand, Microsoft conducted a
reasonable search that included any devices or platforms on which the custodians conducted
business.

        Additionally, Microsoft has made productions of post-February 2023 documents and
communications related to recent matters that impact the deal, including the Sony offer, the
Nintendo contract, and the cloud streaming deals. Microsoft has also agreed to conduct an
additional search and production of documents and communications related to the Ubisoft
agreement (under which Microsoft will not acquire cloud streaming rights to Activision games,
with limited exceptions to fulfill commitments to third parties and regulators) and the Sony
agreement (obligating Microsoft to make Call of Duty available on PlayStation for ten years).
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This is consistent with an order in the FTC adjudicative proceeding, in which the FTC sought
only limited discovery on the Ubisoft and Sony Agreements—the two relevant developments
since discovery closed in that proceeding. In the Matter of Microsoft/Activision Blizzard, FTC
No. 9412, Oct. 26, 2023 Order. 3

        But Plaintiffs’ broad demand for all of the executives’ post-February 2023
communications related to the merger is disproportional to the needs of this case. See Fed. R.
Civ. Proc. 26(b)(1). During that time, Microsoft was well into the regulatory process
internationally and the litigation process domestically. It was no longer evaluating and modeling
the merger. Accordingly, the broad search requested is not important to resolving the issues in
this case. Conversely, that search would carry a large burden. The bulk of the post-February
communications are privileged. A search and production would involve reviewing an estimated
600,000-plus documents, while conducting a painstaking privilege review and withholding most
documents. That burden is unwarranted. See Am. Claims Mgmt. v. Allied World Surplus Lines
Ins. Co., No. 18-cv-925-JLS(MSB), 2018 U.S. Dist. LEXIS 245777, at *8 (S.D. Cal. Dec. 31,
2018) (a costly search of voluminous documents, most of which would likely be privileged and
which speculative relevance, was disproportionate); Neal v. City of Bainbridge Island, No. 3:20-
cv-06025-DGE, 2023 U.S. Dist. LEXIS 31203, at *12 (W.D. Wash. Feb. 24, 2023) (request for
all communications between relevant persons was disproportionate to the needs of the case
where it would result in a “significant amount of material not relevant to Plaintiff's claims”).

         Plaintiffs have not identified any post-February 2023 documents or information they
need. Although they are deposing the executives from whom they seek production, in their first
three depositions, they have not asked any questions related to post-February 2023
communications or activity, other than a handful of high-level questions about whether
Activision will remain a subsidiary or become integrated. In earlier correspondence and a prior
letter brief regarding Microsoft’s discovery responses (Dkt. 268), Plaintiffs did not pursue this
request. They raised it only after Microsoft sought to compel production of Plaintiffs’
communications regarding the merger.

RFP 16: Communications Related to Making Any Video Game Exclusive

        Microsoft has already produced a chart of every video game it has published in the past
ten years with release dates for every platform on which the games were released. It also
produced communications and documents related to exclusivity decisions up through February
2023. Exclusivity decisions about Redfall and Starfield were made prior to February 2023, so
Plaintiffs already have the documents they seek. Moreover, as the Court found in the FTC
action, “[n]either Starfield nor Redfall are remotely similar to Call of Duty,” (Case No. 3:23-cv-
02880-JSC, Dkt. 327, at 44:15-16), and the future Elder Scrolls VI is also a roleplaying game
unlike Call of Duty, so further documents related to those games have no bearing on this case—
particularly where contracts ensure that Activision games will not be exclusive.

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 Available at
https://www.ftc.gov/system/files/ftc_gov/pdf/608827.10.26.2023_order_on_ccs_motion_to_allo
w_discovery_regarding_respondents_agreements_with_ubisof.pdf.
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         Plaintiffs did not pursue this request over the course of several meet and confers and their
first draft of this letter brief, adding it into a later draft on November 3. Regardless, it would be
disproportionate to require Microsoft to conduct additional searches through a huge volume of
documents related to other games, when Plaintiffs already have the pertinent information
concerning exclusivity.

RFP 17: Executives’ Online Posts Regarding Video Games

        Microsoft has provided Plaintiffs with the requested executives’ social media usernames,
for any accounts that they used to post about work-related topics—i.e., any accounts they could
have used to post about the merger or Microsoft’s video game business, and accordingly any
accounts that could have any possible relevancy. It also pointed Plaintiffs to where those
executives’ online posts related to the merger were already produced within the voluminous prior
document productions (fully updated through to February 2023). However, for the same reasons
described above, a further search and production of online posts is disproportional to the needs of
the case. That public information is available online to Plaintiffs, if they would like to review
the social media accounts that Microsoft has identified. Plaintiffs’ online review would be much
less burdensome than the burden required for Microsoft to review and process the posts into a
producible format.

        Plaintiffs’ demand does not appear to arise from a legitimate need for this information.
After Microsoft served a request on Plaintiffs for their online posts regarding video games,
Plaintiffs served a nearly identical request for the posts of Microsoft executives. Plaintiffs did
not actively pursue this request until Microsoft sought to compel Plaintiffs’ production, at which
time Plaintiffs asserted that they would not produce their own posts unless Microsoft produces its
executives’ online posts in this “reciprocal” request. But Microsoft’s executives’ posts about
video gaming have no bearing on any claim or defense in this case (with the possible exception
of public promises to make Activision games available on other platforms). Whereas Plaintiffs’
posts are relevant to the element of irreparable harm, the balancing of the equities, and their
sworn statements that gaming is their principal method of socializing. And Plaintiffs’ posts are
less likely to be publicly accessible. “[D]iscovery is not conducted on a ‘tit-for-tat’ basis.”
Infanzon v. Allstate Ins. Co., 335 F.R.D. 305, 312 (C.D. Cal. 2020).

RFP 20: Documents Related to Plaintiffs

       Microsoft has already produced its complete gaming data related to Plaintiffs. 4 There is
no discovery dispute at issue. Although, ironically, when Microsoft has sought discovery from


4
  Plaintiffs are incorrect that Microsoft produced Plaintiffs’ gaming data “one business day”
before Mr. DeMartini’s deposition. Microsoft sent a request to Plaintiffs on April 25 asking for
their Gamertags, and repeatedly explained to Plaintiffs that those were necessary to locate
Plaintiffs’ gaming data. Plaintiffs objected to providing their Gamertags on “privacy” grounds
and continued to resist during meet and confer efforts. Plaintiffs finally provided their
Gamertags on September 19. Microsoft then searched for and produced Plaintiffs’ gaming data
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Plaintiffs about their gaming history, they have argued that it is irrelevant to this case. (See, e.g.,
Dkt. 287 at p. 3.)

        Upon a reasonable inquiry, Microsoft has no other communications about Plaintiffs that
are not privileged. Plaintiffs were only discussed in the context of defending this lawsuit. It
would be disproportionate to require Microsoft to conduct any more thorough searching, such as
looking for whether any employee mentioned the lawsuit in a non-privileged setting, as that
burdensome search would not yield any information relevant to the claims or defenses in this
case.

RFP 28: All Contracts with Cloud Gaming Services

        Microsoft has produced its relevant agreements with cloud gaming companies: those
relating to Activision gaming content. These include the Ubisoft agreement that demolishes
Plaintiffs’ theory that Microsoft will make Activision content exclusive to its cloud gaming
service. However, Plaintiffs are fishing for irrelevant agreements related to other subjects, such
as agreements for the companies’ use of other Microsoft products like Windows and Azure.
Those agreements do not relate to the claims alleged in this case, or to any topics Plaintiffs have
pursued in the first three (of five) depositions of Microsoft executives. Further, production
would require searching for and producing unnecessary agreements and may require producing
contracts with third parties that contain confidentiality clauses (triggering notice burdens and
implicating third parties’ confidential information). Therefore, Plaintiffs’ request is
disproportional to the needs of this case.

Interrogatory 4: Executives’ Social Media Handles

        Microsoft has already provided Plaintiffs with the requested executives’ social media
handles that they have used for work purposes. Any of those executives’ personal social media
accounts are not relevant, are disproportionate to the needs of this case, and constitute private
information outside of Microsoft’s custody and control. Plaintiffs’ issue with the phrasing about
“known” social media accounts has been resolved. Microsoft explained that this means that it
provided the information for all social media handles the executives used for work-related
purposes.

Requests for Admission 6 and 7: Microsoft and Activision as Horizontal Competitors

         Plaintiffs did not raise these requests over the course of several meet and confers and
their first draft of this letter brief. But the addition provides a good example of how Plaintiffs
continue to demand that the parties expend resources on irrelevant matters, including their
horizontal theory that has been dismissed. Plaintiffs offer no explanation of the relevance of
these requests, which patently only relate to a horizontal theory. They also seek a legal opinion
and are vaguely worded. The Court should sustain Microsoft’s objections.

four days before the first Plaintiff deposition. The day before the deposition, Plaintiffs’ counsel
admitted they had missed the email with the FTP link for that production.
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                                                      Respectfully Submitted,

                                                        /s/ Tania Rice

                                                             Counsel for Microsoft


                                                       /s/ David Seidel

                                                             Counsel for Plaintiffs



cc: All counsel of record via ECF



                                    ATTESTATION OF FILER
         Pursuant to Civil L.R. 5-1(h)(3), regarding signatures, I, David Seidel, attest that

concurrence in the filing of this document has been obtained.


Dated: November 10, 2023                                      /s/ David Seidel
                                                                  David Seidel
